Case 3:21-cv-00144-TWP-MPB Document 98 Filed 11/29/21 Page 1 of 5 PageID #: 2991




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   EVANSVILLE DIVISION

  JOHN DOE,                       )
                                  )
                  Plaintiff       )
                                  )
                  v.              )                     CASE NO. 3:21-cv-00144-TWP-MPB
                                  )
  UNIVERSITY OF SOUTHERN INDIANA, )
                                  )
                  Defendant       )

                        BRIEF IN SUPPORT OF PLAINTIFF’S MOTION
                         TO MAINTAIN DOCUMENTS UNDER SEAL

         Plaintiff requests that the Court maintain under seal portions of two documents: page 6,

  lines 17-20 of USI’s Brief (ECF No. 58); and the last paragraph of page 2 of USI’s Response

  Exhibit (ECF No. 68-1). These portions of both documents contain language which easily allows

  for the identification of Plaintiff’s true identity. While sealed filings are disfavored, the standard

  allowing for such favors is met in this case, and the aforementioned portions of documents should

  be maintained under seal.

                                             ARGUMENT

         While “[d]ocuments that affect the disposition of federal litigation are presumptively open

  to public view,” this presumption can be overridden by competing interests, such as when “there

  are compelling reasons of personal privacy.” Goesel v. Boley Int’l (H.K.) Ltd., 738 F.3d 831, 833

  (7th Cir. 2013) (internal citations omitted). A party seeking to proceed under pseudonym is

  confronted with a similar presumption favoring the public identification of litigants. Doe v. Purdue

  Univ., 321 F.R.D. 339, 341 (N.D. Ind. 2017) (citing Doe v. Ind. Black Expo, 923 F. Supp. 137, 140

  (S.D. Ind. 1996)). Applying these standards in college disciplinary cases, courts have found that

  the same privacy interests that permits a party to proceed under a pseudonym are also sufficient to


                                                    1
Case 3:21-cv-00144-TWP-MPB Document 98 Filed 11/29/21 Page 2 of 5 PageID #: 2992




  overcome the general presumption in favor of public access to documents filed in federal courts.

  See e.g., Order, Doe v. Trs. of Ind. Univ., No. 1:21-cv-00973-JRS-MPB, 2021 U.S. Dist. LEXIS

  131449 (S.D. Ind. April 27, 2021), ECF No. 23, (granting motion to seal documents containing

  “information that might allow someone to identify” the plaintiff Doe and witnesses (quoting Brief

  in Support of Motion to Seal, Id. at ECF No. 28); Order, Doe v. Purdue Univ., No. 4:18-CV-72

  JVB (N.D. Ind. Aug. 28, 2019), ECF No. 51 (modifying order granting leave to proceed under

  pseudonym and ordering that “[a]ny documents filed with the Court bearing . . . personal

  identification information must either be filed under seal or redacted”); Doe v. Purdue Univ., 321

  F.R.D. 339, 343 (N.D. Ind. 2017) (granting motion to proceed under pseudonym and ordering the

  defendants from otherwise revealing the plaintiff’s identity); Doe v. Univ. of Notre Dame, No.

  3:1CV298-PPS/MGG, 2017 U.S. Dist. LEXIS 223299, at *11 (N.D. Ind. May 8, 2017) (granting

  motion to proceed under pseudonym and ordering that redaction be used to protect from otherwise

  disclosing true identities); Unknown v. Ariz. Bd. of Regents, No. CV-18-01623-PHX-DWL, 2021

  U.S. Dist. LEXIS 93579, at *6-7 (D. Ariz. May 14, 2021) (granting motion to seal documents

  revealing anonymous plaintiff’s identity, stating that “[t]he Court previously granted Doe’s motion

  to proceed pseudonymously and the rationale underlying that order remains equally valid today”);

  Doe v. Trs. of Dartmouth Coll., 2018 DNH 088 (granting plaintiff’s motion to proceed under

  pseudonym and further ordering that “the parties shall . . . refrain from revealing their true

  identities”); Doe v. Va. Polytechnic Inst. & State Univ., No. 7;18-cv-320, 2018 U.S. Dist. LEXIS

  192932, at *13 (W.D. Va. Nov. 13, 2018) (granting motion to proceed under pseudonym and

  requiring all documents that contain “other identifying information of plaintiff” be redacted or

  filed under seal); Doe v. Univ. of the S., No. 4:01-cv-62, 2011 U.S. Dist. LEXIS 35166, at *30-31




                                                  2
Case 3:21-cv-00144-TWP-MPB Document 98 Filed 11/29/21 Page 3 of 5 PageID #: 2993




  (E.D. Tenn. Mar. 31, 2011) (granting motion to seal documents containing “personally identifiable

  information” pursuant to order granting motion to proceed under pseudonym).

         Where information is not relevant to the disposition of the case however, the presumption

  of public access does not apply. Goesel, 738 F.3d at 833 (7th Cir. 2013) (quoting Baxter Int’l, Inc.

  v. Abbott Labs., 297 F.3d 544, 545 (7th Cir. 2002)); see also Order, Whole Women’s Health All.

  v. Hill, No. 1:18-cv-01904-SEB-MJD (S.D. Ind. Jan. 16, 2020), ECF No. 244 (“because the

  information in question is not relevant to any judicial action, there is nothing against which to

  weigh the risk of harm identified by Plaintiffs”).

         Quoting from two sealed exhibits, USI’s Brief and Response Exhibit use Plaintiff’s and

  Jane Doe’s true initials. (ECF No. 58 at 6; ECF No. 68-1 at 2). Taken together with all of the other

  circumstances of the case, these portions of the documents operate to reveal Plaintiff’s identity.

  The Brief also identifies by name the neighboring residence halls Plaintiff and Jane Doe lived in,

  and identifies Jane Doe’s roommate and suitemates by their initials. (ECF No. 58 at 4). USI is not

  a large school; there are only four residence halls and those halls are limited to USI freshman.

  Residence Halls, USI, https://www.usi.edu/housing/housing-options/residence-halls/. It is

  virtually impossible that there exists any other individual with Plaintiff’s same initials, the same

  extensive personal history with the other individuals identified by the Brief, and who lived at the

  same residence hall during their 2019-2020 freshman year. The revelation of Plaintiff’s identity

  through the use of his and Jane Doe’s true initials undermines this Court’s Order Granting Leave

  to Proceed Under Pseudonym and supports maintaining the relevant portions of the documents

  under seal.

         The same personal interests that justified granting Plaintiff’s Pseudonym Motion also

  demonstrate good cause to maintain the portions of USI’s Brief and Response Exhibit which



                                                   3
Case 3:21-cv-00144-TWP-MPB Document 98 Filed 11/29/21 Page 4 of 5 PageID #: 2994




  disclose Plaintiff’s true identity under seal. Plaintiff’s Pseudonym Motion set forth that many of

  the underlying circumstances of this case constitute information of the utmost intimacy, and that

  if Plaintiff is identified, he is certain to face irreparable harm. (ECF No. 15 at 2). Indeed, Plaintiff

  received numerous violent death threats and threats of physical harm during the social media

  firestorm occurring after social media posts were made accusing Plaintiff of sexual assault. (See

  ECF No. 27 at ¶¶ 54, 56). A true and accurate copy of some of these violent threats are attached

  hereto as Exhibit 1. Furthermore, once Plaintiff’s true identity is revealed, it is unlikely that less

  restrictive alternatives, such as a protective order or sealing of other particular filings, would

  discourage further harassment and violent threats. See Doe v. Purdue Univ., No. 4:18-CV-89-JEM,

  2019 U.S. Dist. LEXIS 66718, at *8 (N.D. Ind. Apr. 18, 2019).

          Moreover, these details are unnecessary and irrelevant to the disposition of this case and

  are immaterial to any issue or argument advanced by USI in its Brief. Because the details in

  question are irrelevant, there is no public interest against which to weigh the very real harm that

  Plaintiff has identified should his identity be revealed. Goesel, 738 F.3d at 833; Baxter Int’l, Inc.,

  297 F.3d at 545; Order, Whole Women’s Health, No. 1:18-cv-01904-SEB-MJD, ECF No. 244.

  Thus, there is no reason why the portions of USI’s Brief and Response Exhibit that disclose

  Plaintiff’s identity should not be sealed and replaced with the redacted versions provided by

  Plaintiff.

          Finally, counsel for USI rejected Plaintiff’s request to withdraw and refile the brief without

  the identifying information but preliminarily proposed a stipulation to seal the parties’ briefs. Of

  course, a stipulation between the parties is an insufficient basis to permit sealing, but USI’s

  proposition of one indicates that USI is not entirely opposed to maintaining under seal the portions

  of the documents identified by Plaintiff.



                                                     4
Case 3:21-cv-00144-TWP-MPB Document 98 Filed 11/29/21 Page 5 of 5 PageID #: 2995




                                            CONCLUSION

         For the foregoing reasons, the portions of USI’s Brief and Response Exhibit specifically

  identified by Plaintiff should be maintained under seal.

                                         Respectfully submitted,

                                         ZIEMER, STAYMAN, WEITZEL & SHOULDERS, LLP

                                         By: /s/Matthew S. Koressel
                                              Robert L. Burkart, 16664-82
                                              Keith W. Vonderahe, 21908-82
                                              Matthew S. Koressel, 35276-49
                                              Kristen E. Hahn, 36843-82
                                              20 NW First Street, Ninth Floor
                                              P. O. Box 916
                                              Evansville, Indiana 47706-0916
                                              Phone: (812) 424-7575
                                              Fax: (812) 421-5089
                                              rburkart@zsws.com
                                              kvonderahe@zsws.com
                                              mkoressel@zsws.com
                                              khahn@zsws.com



                                   CERTIFICATE OF SERVICE

         I certify that on November 29, 2021, a copy of the foregoing pleading was filed

  electronically. Notice of this filing will be sent to the following parties by operation of the

  Court’s electronic filing system. Parties may access this filing through the Court’s system.


                                        William P. Kealey, Esq.
                                         wpk@stuartlaw.com

                                      Joseph H. Harrison III, Esq.
                                          jhh@stuartlaw.com


                                         /s/Matthew S. Koressel
                                         Matthew S. Koressel



                                                    5
